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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                         )
    In re:                                               )     Chapter 11
                                                         )
    TOUGH MUDDER INC., et al., 1                         )     Case No. 20-10036 (CSS)
                                                         )
                             Debtors                     )     Jointly Administered
                                                         )

                          NOTICE OF APPEARANCE AND REQUEST FOR
                             SERVICE OF NOTICE AND PLEADINGS

             The Texas Comptroller of Public Accounts (“Comptroller”) hereby gives notice of its

appearance in the case, pursuant to Bankruptcy Rule 9010, by and through the undersigned

counsel:

                                              Courtney J. Hull
                                        Assistant Attorney General
                                         bk-chull@oag.texas.gov
                                     c/o Sherri K. Simpson, Paralegal
                                      sherri.simpson@oag.texas.gov
                                         Attorney General's Office
                                    Bankruptcy & Collections Division
                                              P.O. Box 12548
                                         Austin, TX 78711-2548

             The Comptroller respectfully requests through its counsel that it be served with copies of

all notices and other documents issued by the Clerk of the Court and all other reports, pleadings

and notices filed by the Trustee or any other interested party in this case, in accordance with

Bankruptcy Rules 2002, 3017 and 9013, and any other Bankruptcy Rules or local rules governing

notice.




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Tough Mudder Inc. (2575) and Tough Mudder Event Production Inc. (6845). The Debtor’s address is
15 MetroTech Center, Brooklyn, NY 12201.
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                       Respectfully submitted,

                       KEN PAXTON
                       Attorney General of Texas

                       JEFFREY C. MATEER
                       First Assistant Attorney General

                       DARREN L. MCCARTY
                       Deputy Attorney General for Civil Litigation

                       RACHEL R. OBALDO
                       Assistant Attorney General
                       Chief, Bankruptcy & Collections Division

                       /s/ Courtney J. Hull
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                       COUNSEL FOR THE TEXAS
                       COMPTROLLER OF PUBLIC ACCOUNTS
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                                CERTIFICATE OF SERVICE

      I certify that on the 3rd day of April, 2020, a true copy of the foregoing was served by the
method and to the following parties as indicated:

By Regular First Class Mail:

Tough Mudder Inc.
15 MetroTech Center
Brooklyn, NY 12201

By Electronic Means as listed on the Court's ECF Noticing System:

•   Derek C. Abbott dabbott@mnat.com
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•   Adrienne K. Walker awalker@mintz.com



                                                            /s/ Sherri K. Simpson
                                                            Sherri K. Simpson
